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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
RONNIE STEWART, et al.,                    )
                                           )
                              Plaintiffs,  )
                                           )
            v.                             ) No. 1:18-cv-0152-JEB
                                           )
ALEX M. AZAR, et al.                       )
                                           )
                              Defendants. )
                                           )

                             NOTICE OF APPEARANCE

       Please take notice that by this filing, undersigned attorney Matthew Skurnik of the

United States Department of Justice, Civil Division, Federal Programs Branch, enters his

appearance on behalf of Federal Defendants in this case.



Dated: October 10, 2018                      Respectfully submitted,

                                             JOSEPH H. HUNT
                                             Assistant Attorney General

                                             MICHELLE BENNETT
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